          Case 3:16-cr-01017-DMS                       Document 113                Filed 06/24/16              PageID.280                 Page 1 of 2

     'AO 245B (CASD) (Rev. 4114)    Judgment in a Criminal Case                                                                 FILED
                Sheet 1




                                              UNITED STATES DISTRICT Co                                                    CLE;:~K   us      I HICT COURT
                                                                                                                     SOUTHEHf'J DISl             OF CALIFORNIA
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                    BY                                DEPUTY

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                ISAAC MAHATMA OSUNA-SANCHEZ                                        Case Number: 16CRIOI7-DMS
                                                                                    Kenneth Troiano CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 48399298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) I of the Superseding Information
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(sl
8 USC 1324(a)(lXA)(i)                 BRINGING IN ALIEN AND AIDING AND ABETTING                                                             Is
 and (v)(II)




        The defendant is sentenced as provided in pages 2 through                _2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 181 Count(s) in Underlying Information                     ----------------------------------------------
                                                                        is 0 arel8l dismissed on the motion of the United States.
 181 Assessment: $ 100.00

  181 Fine waived                                   o Forfeiture pursuant to order filed                                        , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              June 24, 2016
                                                                              "'. oflm""i<;oo ofS,_~                 df2J
                                                                              HON. DANA M.-sA.\BJ
                                                                                                  ~b-,
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                 16CRI017-DMS
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A0245B (CASD) (Rev, 4114)   Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                           Judgment - Page   2     of       2
 DEFENDANT: ISAAC MAHATMA OSUNA-SANCHEZ
 CASE NUMBER: 16CRI017-DMS
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         FIVE (5) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section l326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Dp.m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL

                                                                    By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                  16CRI017·DMS
